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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       CRIMINAL NO. 23-cr-239 (CKK)
                                              :
ILYA LICHTENSTEIN, et al.,                    :
                                              :
                      Defendants.             :

 GOVERNMENT’S SUPPLEMENTAL NOTICE REGARDING STATEMENTS FROM
  SELF-IDENTIFIED PERSONS IMPACTED BY THE DEFENDANTS’ CONDUCT

       The United States of America, by and though the United States Attorney for the District of

Columbia, hereby provides notice to the Court of additional statements submitted by individuals

who self-identified as impacted by the defendants’ conduct in the above-captioned matter,

including Bitfinex.

       Pursuant to the Court’s Order Authorizing Alternative Notification Procedures, ECF No.

145, the government established a website with case-specific information and a process for

members of the public to submit statements regarding how they may have been impacted by the

defendants’ conduct. Individuals were instructed to provide statements by email by November 12,

2024, and were advised that the information would be relayed to the Court. After the deadline, the

government received additional submissions. 1 Those submissions are attached hereto as an exhibit,

with personal contact details redacted.




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         As detailed in prior filings, see ECF No. 141, because the defendants’ offenses of
conviction are 18 U.S.C. § 1956(h) (Money Laundering Conspiracy) and 18 U.S.C. § 371
(Conspiracy to Defraud the United States), the government maintains that there are no individual
“victims” under the Crime Victims’ Rights Act (CVRA), 18 U.S.C. § 3771. However, the Court
may still elect to consider statements from those who do not meet the statutory definition of
“victim” in the CVRA.


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                               Respectfully submitted,
                               MATTHEW M. GRAVES
                               UNITED STATES ATTORNEY
                               D.C. Bar No. 481052

                         BY:   /s/ Christopher B. Brown
                               Christopher B. Brown, D.C. Bar No. 1008763
                               Special Assistant United States Attorney
                               Jolie F. Zimmerman, D.C. Bar No. 465110
                               Assistant United States Attorney
                               U.S. Attorney’s Office for the District of Columbia
                               601 D Street, N.W.
                               Washington, DC 20530
                               (202) 353-0018 (Brown)
                               (202) 252-7220 (Zimmerman)
                               Christopher.Brown8@usdoj.gov
                               Jolie.Zimmerman@usdoj.gov

                               /s/ Jessica Peck
                               Jessica Peck, N.Y. Bar Number 5188248
                               C. Alden Pelker, Maryland Bar
                               Trial Attorneys, U.S. Department of Justice
                               Computer Crime & Intellectual Property Section
                               1301 New York Ave., N.W., Suite 600
                               Washington, D.C. 20005
                               (202) 353-9455 (Peck)
                               (202) 616-5007 (Pelker)
                               Jessica.Peck@usdoj.gov
                               Catherine.Pelker@usdoj.gov




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